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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK


  Daniel Robert Ortiz,
                                                           Case No: 1:23-cv-05534-FB-VMS
                           Plaintiff,
                                                                NOTICE OF VOLUNTARY
                 v.
                                                                DISMISSAL PURSUANT TO
                                                               F.R.C.P. § 41(a)(1)(A)(i) AS TO
  Long Island University, Equifax Information                   EXPERIAN INFORMATION
  Services, LLC, Experian Information                                SOLUTIONS, INC
  Solutions, Inc. and Trans Union, LLC,

                           Defendants.


       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiff

and/or plaintiff's counsel, hereby give notice that whereas no party is an infant or incompetent the

above-captioned action is voluntarily dismissed with prejudice against Defendant Experian

Information Solutions, Inc. only, with each party to bear its respective attorney’s fees and costs.

       Experian Information Solutions, Inc. has not served an answer, motion or otherwise

appeared in this action.

Dated: August 25, 2023

                                              SANDERS LAW GROUP

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